  Case 1:23-tp-20047-RAR Document 1 Entered on FLSD Docket 06/08/2023 Page 1 of 22

                                                                                                                         JBS

                                     UNITED STATES DISTRICT COURT                                           Jun 8, 2023
                                                  for the
                                        Western District of Oklahoma                                                        MIAMI



Prob22                                                                                             DOCKET NUMBER (Tran Court)
(3/03)                                                                                             CR-22-00199-002-PRW
               TRANSFER OF JURISDICTION                                                            DOCKET NUMBER (Rec Court)
                                                                                                     23-tp-20047-Ruiz
NAME AND ADDRESS OF PROBATION/SUPERVISED RELEASEE:              DISTRICT                        DIVISION
                                                                Western District of Oklahoma    Oklahoma City
                                                                NAME OF SENTENCING JUDGE
                                                                Honorable Patrick R. Wyrick, United States District Judge
          Clever Medina-Martinez                                DATES OF PROB/TSR      FROM                    TO
                                                                RELEASE                March 23, 2023          March 22, 2025


Offense:
Conspiracy, in violation of 18 U.S.C. § 371

PART 1 - ORDER TRANSFERRING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF OKLAHOMA
         IT IS HEREBY ORDERED that pursuant to 18 U.S.C. § 3605 the jurisdiction of the probationer or supervised releasee
named above be transferred with the records of the United States District Court for the Western District of Oklahoma to the United
States District Court for the Southern District of Florida upon that Court’s order of acceptance of jurisdiction. This Court hereby
expressly consents that the period of probation or supervised release may be changed by the District Court to which this transfer is
made without further inquiry of this Court.*




               5/25/2023
                           Date
* This sentence may be deleted in the discretion of the transferring Court.

PART 2 - ORDER ACCEPTING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF FLORIDA
        IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted and
assumed by this Court from and after the entry of this order.


               06/07/23
                           Date                                                           United States District Judge
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                                         Query   Reports   Utilities      Help      What's New     Log Out

                                                                                  CLOSED,DET,INTERPRETER,REL,_TS

                                               U.S. District Court
                             Western District of Oklahoma[LIVE] (Oklahoma City)
                           CRIMINAL DOCKET FOR CASE #: 5:22-cr-00199-PRW-2


         Case title: USA v. Martinez et al                                     Date Filed: 05/17/2022

         Magistrate judge case number: 5:22-mj-00280-AMG                       Date Terminated: 03/23/2023


         Assigned to: Judge Patrick R Wyrick

         Defendant (2)
         Clever Medina-Martinez                             represented by Edward M Blau
         TERMINATED: 03/23/2023                                            Blau Law Firm PLLC
                                                                           101 Park Ave
                                                                           Suite 600
                                                                           Oklahoma City, OK 73102
                                                                           405-232-2528
                                                                           Fax: 405-232-2532
                                                                           Email: edblau@blaulawfirm.com
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED
                                                                           Designation: CJA Appointment

                                                                                 Daniel Page
                                                                                 Blau Law Firm PLLC
                                                                                 101 Park Ave
                                                                                 Suite 600
                                                                                 Oklahoma City, OK 73102
                                                                                 405-232-2528
                                                                                 Email: daniel@blaulawfirm.com
                                                                                 ATTORNEY TO BE NOTICED
                                                                                 Designation: Pro Bono

         Pending Counts                                                          Disposition
                                                                                 Defendant sentenced to a term of
         18:371 CONSPIRACY TO COMMIT                                             Probation for a term of 2 years; S/A Fee of
         BANK THEFT                                                              $100 due immediately; Defendant ordered
         (1)                                                                     to pay restitution in the amount of
                                                                                 $22,400.00 due immediately

         Highest Offense Level (Opening)




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         Felony

         Terminated Counts                                                 Disposition
         18:2113(b) & 18:2 BANK THEFT &
         AIDING AND ABETTING                                               ORDER OF DISMISSAL
         (2)

         Highest Offense Level (Terminated)
         Felony

         Complaints                                                        Disposition
         18:371 CONSPIRACY and 18:2113(b)
         BANK LARCENY



         Plaintiff
         United States of America                          represented by Charles William Brown
                                                                          US Attorney's Office-OKC
                                                                          210 W Park Ave
                                                                          Suite 400
                                                                          Oklahoma City, OK 73102
                                                                          405-553-8871
                                                                          Fax: 405-553-8888
                                                                          Email: charles.brown4@usdoj.gov
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED
                                                                          Designation: Retained

                                                                           D.H. Dilbeck
                                                                           DOJ-USAO
                                                                           210 Park Avenue
                                                                           Suite 400
                                                                           Oklahoma City, OK 73102
                                                                           405-553-8758
                                                                           Email: dale.dilbeck@usdoj.gov
                                                                           ATTORNEY TO BE NOTICED


         Date Filed         #    Docket Text
         04/15/2022          1 COMPLAINT as to Chevalier Jesus Martinez (1), WIlfredo Alberto Lezama-Garcia
                               (2), Clever Andres Medina-Martinez (3), Edgar Johan Ravelo (4). (Attachments: # 1
                               Criminal Cover Sheet, # 2 Criminal Cover Sheet, # 3 Criminal Cover Sheet, # 4
                               Criminal Cover Sheet) (rb) [5:22-mj-00280-AMG] (Entered: 04/15/2022)
         04/15/2022          6 MOTION to Seal Case by United States of America as to Chevalier Jesus Martinez,
                               WIlfredo Alberto Lezama-Garcia, Clever Andres Medina-Martinez, Edgar Johan
                               Ravelo. (rb) [5:22-mj-00280-AMG] (Entered: 04/19/2022)



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         04/15/2022          7 ORDER granting 6 Motion to Seal Case as to Chevalier Jesus Martinez (1), WIlfredo
                               Alberto Lezama-Garcia (2), Clever Andres Medina-Martinez (3), Edgar Johan Ravelo
                               (4). Signed by Magistrate Judge Amanda Maxfield Green on 4/15/2022. (rb) [5:22-
                               mj-00280-AMG] (Entered: 04/19/2022)
         04/26/2022              Case unsealed as to Chevalier Jesus Martinez, WIlfredo Alberto Lezama-Garcia,
                                 Clever Andres Medina-Martinez, Edgar Johan Ravelo. (lb) [5:22-mj-00280-AMG]
                                 (Entered: 04/26/2022)
         04/27/2022         35 ** SEALED DOCUMENT ** CJA 23 Financial Affidavit by Clever Andres Medina-
                               Martinez (lb) [5:22-mj-00280-AMG] (Entered: 04/27/2022)
         04/27/2022         36 ORDER APPOINTING COUNSEL Edward M Blau for Clever Andres Medina-
                               Martinez. Signed by Magistrate Judge Suzanne Mitchell on 4/27/22. (lb) [5:22-
                               mj-00280-AMG] (Entered: 04/27/2022)
         04/27/2022         37 MINUTE ENTRY for proceedings held before Magistrate Judge Suzanne Mitchell:
                               Initial Appearance as to Clever Andres Medina-Martinez held on 4/27/2022. Detention
                               Hearing set for 5/4/2022 11:15 AM in Courtroom 102 before Magistrate Judge
                               Suzanne Mitchell. Preliminary Hearing set for 5/4/2022 11:15 AM in Courtroom 102
                               before Magistrate Judge Suzanne Mitchell. Defendant remanded to custody of USMS.
                               (lb) [5:22-mj-00280-AMG] (Entered: 04/27/2022)
         04/27/2022         38 ORDER that Rita Lyons is appointed as interpreter for dft Clever Andres Medina-
                               Martinez. Signed by Magistrate Judge Suzanne Mitchell on 4/27/22. (lb) [5:22-
                               mj-00280-AMG] (Entered: 04/27/2022)
         04/27/2022         39 ORDER Appointing Out of Court Interpreter Rita Lyons for dft Clever Andres
                               Medina-Martinez. Signed by Magistrate Judge Suzanne Mitchell on 4/27/22. (lb)
                               [5:22-mj-00280-AMG] (Entered: 04/27/2022)
         04/27/2022         40 WRITTEN OATH of Interpreter Rita Lyons as to dft Clever Andres Medina-Martinez
                               (lb) [5:22-mj-00280-AMG] (Entered: 04/27/2022)
         04/27/2022         41 ORDER OF TEMPORARY DETENTION as to Clever Andres Medina-Martinez.
                               Signed by Magistrate Judge Suzanne Mitchell on 4/27/22. (lb) [5:22-mj-00280-AMG]
                               (Entered: 04/27/2022)
         04/27/2022         42 DPPA-ORDER as to Clever Andres Medina-Martinez. Signed by Magistrate Judge
                               Suzanne Mitchell on 4/27/22. (lb) [5:22-mj-00280-AMG] (Entered: 04/27/2022)
         04/27/2022         43 NOTICE OF HEARING as to Clever Andres Medina-Martinez. Detention Hearing set
                               for 5/4/2022 11:15 AM in Courtroom 102 before Magistrate Judge Suzanne Mitchell.
                               Preliminary Hearing set for 5/4/2022 11:15 AM in Courtroom 102 before Magistrate
                               Judge Suzanne Mitchell. (lb) [5:22-mj-00280-AMG] (Entered: 04/27/2022)
         04/28/2022         44 ENTRY OF ATTORNEY APPEARANCE Charles William Brown appearing for
                               USA. (Brown, Charles) [5:22-mj-00280-AMG] (Entered: 04/28/2022)
         05/04/2022         55 MINUTE ENTRY for proceedings held before Magistrate Judge Suzanne Mitchell:
                               Preliminary Hearing as to Clever Andres Medina-Martinez held on 5/4/2022.
                               Detention Hearing as to Clever Andres Medina-Martinez held on 5/4/2022. Defendant
                               released on unsecured bond with conditions of release. (lb) [5:22-mj-00280-AMG]
                               (Entered: 05/05/2022)




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         05/04/2022         56 ORDER Setting Conditions of Release as to Clever Andres Medina-Martinez. Signed
                               by Magistrate Judge Suzanne Mitchell on 5/4/2022. (lb) [5:22-mj-00280-AMG]
                               (Entered: 05/05/2022)
         05/04/2022         57 Appearance Bond as to Clever Andres Medina-Martinez (3) $5,000.00 Unsecured.
                               Signed by Magistrate Judge Suzanne Mitchell on 5/4/2022. (lb) [5:22-mj-00280-
                               AMG] (Entered: 05/05/2022)
         05/10/2022         61 ENTRY OF ATTORNEY APPEARANCE: Edward M Blau appearing for Clever
                               Andres Medina-Martinez (Blau, Edward)[5:22-mj-00280-AMG] Modified on
                               6/8/2022, document flattened (so). (Entered: 05/10/2022)
         05/10/2022         62 ENTRY OF ATTORNEY APPEARANCE: Daniel Page appearing for Clever Andres
                               Medina-Martinez (Page, Daniel)[5:22-mj-00280-AMG] Modified on 6/8/2022,
                               document flattened (so). (Entered: 05/10/2022)
         05/17/2022         65 INDICTMENT as to Chevalier Jesus Martinez (1) count(s) 1, 2, Clever Medina-
                               Martinez (2) count(s) 1, 2, Wilfredo Lezama-Garcia (3) count(s) 1, Edgar Johan
                               Ravelo (4) count(s) 1. (Attachments: # 1 Criminal Cover Sheet 1 - Chevalier Jesus
                               Martinez, # 2 Criminal Cover Sheet 2 - Clever Medina-Martinez, # 3 Criminal Cover
                               Sheet 3 - Wilfredo Lezama-Garcia, # 4 Criminal Cover Sheet 4 - Edgar Johan Ravelo)
                               (so) (Entered: 05/18/2022)
         05/26/2022         69 NOTICE OF HEARING as to Clever Medina-Martinez Arraignment set for 6/2/2022
                               01:00 PM in Courtroom 201 before Magistrate Judge Gary M. Purcell. (cps) (Entered:
                               05/26/2022)
         06/02/2022         74 MINUTE ENTRY for proceedings held before Magistrate Judge Gary M.
                               Purcell:Arraignment as to Clever Medina-Martinez (2) Count 1,2 held on 6/2/2022.
                               Not Guilty Plea entered on counts ALL COUNTS. Jury Trial set for 7/12/2022 09:00
                               AM in Courtroom 503 before Judge Patrick R Wyrick. Dft released on previously
                               posted bond with order setting conditions. (cps) (Entered: 06/02/2022)
         06/02/2022         75 WAIVER of Personal Appearance at Arraignment and Entry of Plea of Not Guilty by
                               Clever Medina-Martinez. (cps) (Entered: 06/02/2022)
         06/02/2022         76 DPPA-ORDER as to Clever Medina-Martinez. Signed by Magistrate Judge Gary M.
                               Purcell on 6/2/2022. (cps) (Entered: 06/02/2022)
         06/13/2022         89 JULY CRIMINAL TRIAL DOCKET: Docket Call set for 7/6/2022 01:30 PM in
                               Courtroom 503 before Judge Patrick R Wyrick. Jury Trial set for 7/12/2022 09:00 AM
                               in Courtroom 503 before Judge Patrick R Wyrick. (ks) (Entered: 06/13/2022)
         06/29/2022         99 ORDER granting 96 defendant's joint unopposed motion to continue jury trial, striking
                               case from the Court's July 2022 trial docket, resetting on case on the court's August
                               2022 trial docket and resetting the deadline for pretrial motions and notices go July 21,
                               2022 (as more fully set out in order), as to Chevalier Jesus Martinez (1). Signed by
                               Judge Patrick R Wyrick on 6/29/2022. (ks) (Entered: 06/29/2022)
         06/29/2022              Set/Reset Deadlines/Hearings as to Chevalier Jesus Martinez, Clever Medina-
                                 Martinez: Jury Trial RESET on the August 2022 trial docket (8/9/2022 09:00 AM) in
                                 Courtroom 503 before Judge Patrick R Wyrick. (ks) (Entered: 06/29/2022)
         06/30/2022        101 BRIEF re 97 Order, by United States of America (Brown, Charles) (Entered:
                               06/30/2022)



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         07/08/2022        103 AUGUST CRIMINAL TRIAL DOCKET: Docket Call set for 8/3/2022 01:30 PM in
                               Courtroom 503 before Judge Patrick R Wyrick. Jury Trial set for 8/9/2022 09:00 AM
                               in Courtroom 503 before Judge Patrick R Wyrick. (ks) (Entered: 07/08/2022)
         07/20/2022        107 NOTICE OF HEARING as to Clever Medina-Martinez: Change of Plea Hearing set
                               for 8/5/2022 11:30 AM in Courtroom 503 before Judge Patrick R Wyrick. (ks)
                               (Entered: 07/20/2022)
         08/02/2022        115 ENTER ORDER as to Clever Medina-Martinez - The Change of Plea Hearing
                               scheduled for Friday, August 5, 2022 at 11:30 a.m. is hereby stricken, to be reset at a
                               later date. Signed by Judge Patrick R Wyrick on 8/2/2022. (ks) (Entered: 08/02/2022)
         08/08/2022        116 NOTICE OF HEARING as to Clever Medina-Martinez: Change of Plea Hearing set
                               for 8/23/2022 11:00 AM in Courtroom 503 before Judge Patrick R Wyrick. (ks)
                               (Entered: 08/08/2022)
         08/23/2022        118 MINUTE ENTRY for proceedings held before Judge Patrick R Wyrick: Change of
                               Plea Hearing as to Clever Medina-Martinez held on 8/23/2022, Plea entered by Clever
                               Medina-Martinez (2) Guilty Count 1. (Court Reporter Tracy Thompson) (ks) (Entered:
                               08/23/2022)
         08/23/2022        119 WAIVER of Jury Trial by Clever Medina-Martinez. (ks) (Entered: 08/23/2022)
         08/23/2022        120 PETITION To Enter a Plea of Guilty by Defendant Clever Medina-Martinez. (ks)
                               (Entered: 08/23/2022)
         08/23/2022        121 PLEA AGREEMENT as to Clever Medina-Martinez. (ks) (Entered: 08/23/2022)
         12/22/2022        151 UNOPPOSED MOTION to Travel by Clever Medina-Martinez. (Blau, Edward)
                               (Entered: 12/22/2022)
         12/22/2022        152 ORDER granting 151 defendant's unopposed motion to travel, as to Clever Medina-
                               Martinez (2). Signed by Judge Patrick R Wyrick on 12/22/2022. (ks) (Entered:
                               12/22/2022)
         02/27/2023        156 MOTION to Seal Document Sentencing Memorandum and Motion for Downward
                               Variance by Clever Medina-Martinez. (Blau, Edward) (Entered: 02/27/2023)
         03/01/2023        158 NOTICE OF HEARING as to Clever Medina-Martinez: Sentencing set for 3/23/2023
                               10:00 AM in Courtroom 503 before Judge Patrick R Wyrick. (ks) (Entered:
                               03/01/2023)
         03/23/2023        162 MINUTE ENTRY for proceedings held before Judge Patrick R Wyrick: Sentencing
                               held on 3/23/2023 for Clever Medina-Martinez (2); Count 1, Defendant sentenced to a
                               term of Probation for a term of 2 years; S/A Fee of $100 due immediately; Defendant
                               ordered to pay restitution in the amount of $22,400.00 due immediately; Count 2,
                               ORDER OF DISMISSAL. (Court Reporter Sherri Grubbs) (ks) (Entered: 03/23/2023)
         03/23/2023        163 ORDER OF DISMISSAL that Count 2 of the Indictment returned on May 17, 2022, as
                               to Clever Medina-Martinez, is dismissed. Signed by Judge Patrick R Wyrick on
                               3/23/2023. (ks) (Entered: 03/23/2023)




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         03/23/2023        164 JUDGMENT & Commitment as to Clever Medina-Martinez (2); Count 1, Defendant
                               sentenced to a term of Probation for a term of 2 years; S/A Fee of $100 due
                               immediately; Defendant ordered to pay restitution in the amount of $22,400.00 due
                               immediately; Count 2, ORDER OF DISMISSAL. Signed by Judge Patrick R Wyrick
                               on 3/23/2023. (ks) (Entered: 03/23/2023)
         05/25/2023        166 REQUEST for Modifying the Conditions or Term of Supervision with Consent of the
                               Offender as to Clever Medina-Martinez and Order. Signed by Judge Patrick R Wyrick
                               on 22-199. (Attachments: # 1 Attachment - Waiver) (ks) (Entered: 05/25/2023)
         06/02/2023        167 CJA 20 as to Clever Medina-Martinez: Authorization to Pay Ed Blau and associate
                               Daniel Page. Voucher # 1087.1536229. Signed by Judge Patrick R Wyrick on
                               05/24/2023. Reviewed by Tenth Circuit 05/27/2023. (km) (Entered: 06/02/2023)




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